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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
                                           :
JANET MONGE,                               :
                                           :
                  PLAINTIFF                :
                                           : Civ. No. 2:22-cv-02942-GEKP
            v.                             :
                                           :
UNIVERSITY OF PENNSYLVANIA et al.,         :
                                           :
                  DEFENDANTS               :
_________________________________________ :

    DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
        MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT
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  I.   INTRODUCTION

       A tragedy occurred in 1985, when the Philadelphia Police Department dropped an aerial

bomb on a house in West Philadelphia where members of the “Christian Action Life Movement”

(i.e., the “MOVE” family or organization) resided. Eleven people died in the ensuing fire, and

numerous homes were destroyed. Philadelphia’s Chief Medical Examiner asked Dr. Alan Mann,

who was a Professor in Anthropology at Penn, to assist in analyzing and identifying the bone

fragments that were at the bomb site. Plaintiff was a doctoral student at Penn, and Dr. Mann’s

mentee, at the time, and assisted Dr. Mann in his analysis and investigation.

       Ultimately, there was one set of bone fragments – a pelvis bone and femur bone – that Dr.

Mann and Plaintiff were unable to identify conclusively. After some debate regarding the identity

of these remains, the Philadelphia Medical Examiner’s Office gave the remains to Dr. Mann for

additional investigation. From 1985 until 2001, these bone fragments were stored in Dr. Mann’s

office at Penn. When Dr. Mann left Penn in 2001, the bone fragments were given to Plaintiff and

similarly stored in her office at the University of Pennsylvania Museum of Archaeology and

Anthropology (“Penn Museum”).

       In April 2021, concerns regarding the Penn Museum and Plaintiff’s handling of the MOVE

remains were included in articles published by Billy Penn and the Philadelphia Inquirer. Multiple

media outlets then reported on the handling of the MOVE remains, sometimes connecting this to

broader issues for museums and universities, as well as within the field of anthropology: the

dehumanization of Black people in life and the desecration of their bodies after death and moral

and human dignity implications of continuing possession and use of human remains. In response

to the significant media attention and public outcry, Penn’s President and Provost at the time (Drs.

Gutmann and Pritchett) issued a statement expressing their opinion regarding the length of time
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the MOVE remains were kept at the Penn Museum, apologizing to the Africa family, committing

to return the MOVE remains to the Africa family, and explaining that Penn hired a law firm to

investigate how the remains came into the possession of the Penn Museum and what transpired

with them for nearly four decades. The statement did not identify Plaintiff by name, but expressed

an opinion that the handling of the human remains was “insensitive, unprofessional and

inappropriate.”

       Plaintiff apparently disagrees with the opinion expressed in the statement and the positions

taken by multiple media outlets, and does not concur with Penn’s decision to apologize to the

community. She does not believe that she should have to accept any responsibility or blame for

the handling of the remains, and has sued Penn, five Penn employees, a doctoral student, the

American Anthropological Association, the Society of Black Archaeologists, 12 media outlets,

and 16 journalists, claiming that they published disparaging statements about her that are either

false and defamatory, imply defamatory meaning, and/or place her in a false light.

       While Plaintiff’s attempt to construct a conspiracy theory is misplaced, her defamation,

false light, and aiding and abetting claims against Penn, Dr. Gutmann, and Dr. Pritchett fail for

much simpler reasons. As an initial matter, Plaintiff’s purported defamation and defamation by

implication claims fail because: (1) they are based on the April 26, 2021 statement of Drs. Gutmann

and Pritchett, which is nothing more than an opinion based upon disclosed facts and, therefore, is

not capable of defamatory meaning; and (2) without this statement, Plaintiff’s purported

defamation and defamation by implication claims against Penn are based upon vague and

conclusory allegations which do not identify when Penn made the alleged defamatory statement(s),

the content of the alleged defamatory statement(s), and to whom the alleged defamatory

statement(s) was made.



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       Further, Plaintiff’s purported false light claim against Penn, Dr. Gutmann, and Dr. Pritchett

similarly fails. Plaintiff has not identified a specific statement made by Penn, Dr. Gutmann, or Dr.

Pritchett that created a false impression of Plaintiff. She has not provided the details that would

be necessary to plead a false light claim, such as the content of the challenged statement(s), the

recipient(s) of the statement(s), the timing of the statement(s), and how Penn, Dr. Gutmann, or Dr.

Pritchett allegedly acted with actual malice. Additionally, Plaintiff has not demonstrated that Penn

(or Drs. Gutmann or Pritchett) disclosed private facts about Plaintiff. Rather, as Plaintiff’s

Amended Complaint makes clear, Penn, Drs. Gutmann and Pritchett (at most) responded to

information that had already been published and widely disseminated by various media outlets

without divulging any new or private information. Further, any statements that were made by

Penn (including by Drs. Gutmann and Pritchett) touched on a matter of legitimate public concern,

i.e., public outcry regarding the handling of the remains of a victim of the MOVE bombing.

       Finally, Plaintiff’s purported civil aiding and abetting claim against Penn, Dr. Gutmann,

and Dr. Pritchett is based on vague and conclusory allegations, without the requisite factual

allegations demonstrating that Penn (including Drs. Gutmann and Pritchett) made any defamatory

statements about Plaintiff, acted in concert with any other Defendants, or provided “substantial

assistance or encouragement” to any other Defendants to engage in alleged tortious conduct.

       Accordingly, Plaintiff’s claims against Penn, Dr. Gutmann, and Dr. Pritchett should be

dismissed in their entirety, with prejudice.




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    II.   RELEVANT FACTUAL ALLEGATIONS1

          In 1971, Vincent Leaphart founded the “Christian Action Life Movement,” an organization

that later became known as the MOVE Organization. See June 22, 2022 Amended Complaint,

Dkt. No. 1-4 (“Am. Compl.”) ¶ 63.                 MOVE members, primarily located in Philadelphia,

Richmond, Virginia and Rochester, New York believed that they were the target of unwarranted

and unlawful discrimination and harassment by these governmental departments. See Am. Compl.

¶¶ 67-68. In 1983, Philadelphia members of MOVE began living at 6221 Osage Avenue,

Philadelphia, Pennsylvania. See Am. Compl. ¶ 69. As tensions between MOVE and their

neighbors grew, others within the neighborhood formed the “United Residents of the 6200 Block

of Osage Avenue” to protest MOVE’s presence in their neighborhood. See Am. Compl. ¶ 70.

          Based on years of conflict between the Philadelphia Police Department and MOVE

members, and growing complaints about MOVE from United Residents of the 6200 Block of

Osage Avenue, Philadelphia’s Mayor, District Attorney’s Office, and Police Department created

a plan to remove MOVE members from the property at 6221 Osage Avenue. See Am. Compl. ¶

71. On May 12, 1985, a Philadelphia Court of Common Pleas judge approved requests for search

and arrest warrants for certain MOVE members, and police evacuated the Osage Avenue

neighborhood. See Am. Compl. ¶ 72. The following day, May 13, 1985, the Philadelphia Police

Department went to 6221 Osage Avenue and asked four MOVE members named in the warrants

to surrender. The MOVE members refused, and the Philadelphia Police Department began firing

high-pressured water, tear gas, and smoke projectiles at the house. When hours passed and no

progress was made, the Philadelphia Police Department dropped an aerial bomb at 6221 Osage



1
          Defendants accept as true, for purposes of their Motion to Dismiss only, the allegations in the Amended
          Complaint. Defendants’ recitation of those facts herein is for purposes of this Motion only and should not
          be deemed as an admission by Defendants that the alleged facts are true.

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Avenue, causing the house to erupt into flames. The fire burned for hours before extinguishing it.

See Am. Compl. ¶¶ 72-77. Eleven MOVE members died in the fire. See Am. Compl. ¶ 79.

       Philadelphia’s Chief Medical Examiner asked Dr. Alan Mann, a Professor in the

Department of Anthropology at Penn at that time, to assist in analyzing the bone fragments that

were removed from the bomb site. See Am. Compl. ¶¶ 86-87. Dr. Mann asked his doctoral student

and mentee, Dr. Janet Monge (“Plaintiff”),2 to assist him with the analysis. Id. After conducting

their examination, Dr. Mann and Plaintiff concluded that a pelvis bone and proximal femur bone

fragments were from a young adult female, likely between the ages of 17 and 21, and did not

conform to any of the ages of the individuals presumed to have been killed in the bombing. See

Am. Compl. ¶¶ 89-91. Others asked to examine the bone fragments disagreed, believing that they

belonged to a 14-year-old girl named Katricia (Tree) Africa. See Am. Compl. ¶¶ 91-93.

       The Philadelphia Medical Examiner’s Office released the human bone fragments to Dr.

Mann for further investigation. See Am. Compl. ¶¶ 96-98. From 1986-2001, the bone fragments

were stored in Dr. Mann’s Office at the Penn Museum. See Am. Compl. ¶¶ 99, 102. After Dr.

Mann left Penn to join the Anthropology Department at Princeton University, the bone fragments

were kept in Plaintiff’s office. See Am. Compl. ¶¶ 103-106.

       Plaintiff worked for Penn as a Keeper and Associate Curator at the Penn Museum and a

Lecturer and Adjunct Professor in Penn’s Department of Anthropology. See Am. Compl. ¶ 19.

Between 2001 and 2015, Plaintiff showed the bone fragments to multiple different people,

including taking them to Princeton University to have other anthropologists review them.             See

Am. Compl. ¶ 107. In 2019, Plaintiff recorded a multi-part course on forensic anthropology, which




2
       Plaintiff is an Anthropologist who has a Bachelor’s degree in Anthropology from Pennsylvania State
       University and a PhD in Anthropology from Penn. See Am. Compl. ¶ 18.

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was titled “Real Bones: Adventures in Forensic Anthropology” and published on the Coursera

online platform in August 2020. See Am. Compl. ¶¶ 120-124, 131. In the ninth class, Plaintiff

and one of her students displayed the bone fragments, comparing them to other similar bone

fragments and models and explaining how forensic techniques can be used to determine the age of

the remains. See Am. Compl. ¶¶ 127-130.

       On April 21, 2021, Maya Kasutto, a journalist, published an online article on Billy Penn’s

website titled “Remains of Children Killed in MOVE Bombing Sat in a Box at Penn Museum for

Decades.” See Am. Compl. ¶ 151. That same day, the Philadelphia Inquirer published an article

titled “Penn Owes Reparations for Previously Handling Remains of a MOVE Bombing Victim”

by Abdul-Aliy Muhammad. See Am. Compl. ¶ 154. Two days later, on April 23, 2021, The Daily

Mail, The Guardian, and the New York Post published their own articles about the story. See Am.

Compl. ¶ 160. The New York Times then published an article called “Decades After Police

Bombing, Philadelphians ‘Sickened’ by Handling of Victim’s Bones” on April 24, 2021 and on

April 26, 2021, the Smithsonian Magazine published an article titled “Museum Kept Bones of

Black Children Killed in 1985 Police Bombing in Storage for Decades.” See Am. Compl. ¶ 161.

The articles identified Plaintiff by name and described her role in storing the remains and using

them in her office. See Am. Compl. ¶¶ 151, 154, 160-161. They also described Plaintiff using the

remains in a lecture that was filmed for an online course in which she picked up the femur and

pelvic bones and referred to them as “juicy” and smelling “kind of greasy.” See id.

       On April 26, 2021, the Association of Black Anthropologists, the Society of Black

Archaeologists, and the Black in Bioanthropology Collective released a statement “condemn[ing]

in the strongest possible language the University of Pennsylvania, Princeton University, Coursera,

along with Professors Alan Mann and Janet Monge, for their horrific treatment of the remains of



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Tree and Delisha Africa, and for the unfathomable heartlessness and disrespect shown towards the

Africa family.” See Am. Compl. ¶ 167.

       In response to the various articles and statements about Penn and the Penn Museum’s

handling of the remains, and the public outcry that resulted, on April 26, 2021 Penn’s President,

Dr. Amy Gutmann, and Provost, Dr. Wendell Pritchett, issued a statement expressing their opinion

that: “We were profoundly disturbed to learn this past week that human remains, provided to a

faculty member by the medical examiner many decades ago in an effort to identify a victim from

the 1985 bombing of the MOVE house, had been kept at the Penn Museum for much of that time.

Simply said, this was insensitive, unprofessional and unacceptable.” See Am. Compl. ¶ 170; April

26, 2021 Statement, attached hereto as Exhibit A.3 Drs. Gutmann and Pritchett continued, stating

that Penn and the Penn Museum issued an official apology to the Africa family, the Penn Museum

was working to return the remains to the Africa family, and that Penn hired attorneys Joe Tucker

and Carl Singley of the Tucker Law Group to investigate how the remains came into the possession

of the Penn Museum and what transpired with them for nearly four decades. They also committed

to share the report with the community and use its findings to help ensure nothing of this nature is

repeated. Id.

       Between April 30, 2021 and October 31, 2021, at least seven (7) other media outlets

published articles on the story, including Slate (titled “The Grim Open Secret of College Bone

Collections”), Al Dia News (titled “There Will Be No Justice for Penn and Princeton’s Treatment

of MOVE Victims”), Andscape (titled “The Scandal Over the MOVE Bombing Victims’ Remains


3
       This statement is publicly available at https://penntoday.upenn.edu/announcements/statement-regarding-
       human-remains-recovered-move-home. Additionally, given that this statement is referenced and placed at
       issue in the Amended Complaint, the Court may consider it, in full, in deciding Defendants’ Motion to
       Dismiss. See Pension Benefits Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993)
       (“[A] court may consider an undisputedly authentic document that a defendant attaches as an exhibit to a
       motion to dismiss if the plaintiff’s claims are based on the document”).

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Is Part of Anthropology’s Racist History” and a second article titled “Disrespect for the MOVE

Families Is a Stain That Never Goes Away in Philadelphia”), The New Yorker (titled “Saying Her

Name”), the Philadelphia Inquirer (titled “The Disrespectful Handling of the MOVE Victims’

Remains by the City and Penn Merits More Investigation”), Teen Vogue (“Move Bombing

Remains Scandal Shows Enduring Racism in Anthropology”), and Hyperallergic (“How the

Possession of Human Remains Led to a Public Reckoning at the Penn Museum”). See Am. Compl.

¶ 161.

         According to Plaintiff, Dr. Deborah Thomas (Professor of Anthropology at Penn) “released

email blasts to colleagues and others,” which more widely disseminated the Billy Penn article. See

Am. Compl. ¶ 9. Additionally, per Plaintiff, Dr. Thomas shared unidentified media reports on the

American Black Anthropologists email list serv. See Am. Compl. ¶ 164. Plaintiff also claims that

Dr. Thomas “suggested herself that [Plaintiff] improperly handled the remains and stated that she

was going to work with Mitchell to create a timeline and chain of custody narrative regarding the

remains.” See Am. Compl. ¶ 165. As of August 2021, Plaintiff was demoted to Museum Keeper

at the Penn Museum and removed from teaching any classes at Penn, her salary was cut by $50,000

per year, and her scheduled summer programs at the Penn Museum and scheduled high school

talks for Penn were cancelled. See Am. Compl. ¶¶ 171-175.

         On April 20, 2022, Plaintiff filed a praecipe to issue a writ of summons in the Philadelphia

Court of Common Pleas. See Dkt. No. 1-1. One month later, on May 20, 2022, Plaintiff filed a

Complaint against Penn, President Gutmann, Provost Pritchett, Christopher Woods (Director of

the Penn Museum), Kathleen Morrison (Chair of the Department of Anthropology at Penn), and

Deborah Thomas (Professor of Anthropology at Penn), as well as Paul Mitchell, the Association

of Black Anthropologists, the Society of Black Archaeologists, each of the 13 media outlets that



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published articles regarding the handling of the MOVE remains, and each of the 16 journalists

who wrote those articles alleging: (1) defamation (Count I); (2) defamation by implication (Count

II); (3) false light (Count III); and (4) aiding and abetting (Count IV) against all 37 Defendants.

See Dkt. No. 1-2. On June 22, 2022, Plaintiff filed an Amended Complaint. See Dkt. No. 1-4. The

Amended Complaint alleges the same four Counts as the original Complaint but adds The

American Anthropological Association as a Defendant and removes The Association of Black

Anthropologists and Smithsonian Magazine as Defendants. Id.            On July 27, 2022, Defendant

Nora McGreevey removed the action to federal court, based on the Federal Officer Removal

Statute, 28 U.S.C. §1442(a)(1). See Dkt. No. 1.

III.   ARGUMENT

           A. Standard of Review

       Under Federal Rule of Civil Procedure 8(a)(2), “[a] pleading that states a claim for relief

must contain a short and plain statement of the claim showing that the pleader is entitled to relief.”

Fed. R. Civ. P. 8(a)(2). Rule 12(b)(6) tests the sufficiency of a pleading against Rule 8(a)’s

requirements. See Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss pursuant to Rule

12(b)(6) for failure to state a claim upon which relief may be granted, Plaintiff’s Amended

Complaint must set forth “enough facts to state a claim for relief that is plausible on its face.” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing

Twombly, 550 U.S. at 556). “The plausibility standard is not akin to a ‘probability requirement,’

but it asks for more than a sheer possibility that a defendant has acted unlawfully.” Id.; see also

Phillips v. County of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008) (“Factual allegations must be



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enough to raise a right to relief above the speculative level.”) (citing Twombly, 550 U.S. at 555).

Accordingly, a complaint that pleads facts that are “merely consistent with a defendant’s liability

. . . stops short of the line between possibility and plausibility of entitlement to relief.” Iqbal, 556

U.S. at 678 (citing Twombly, 550 U.S. at 557) (internal quotes omitted).

       The Court must accept all well-pleaded factual allegations as true and view them in the

light most favorable to the plaintiff, but mere legal conclusions are not entitled to the assumption

of truth. Iqbal, 556 U.S. at 678-79; Phillips, 515 F.3d at 233. Thus, a plaintiff’s obligation to state

the grounds for her entitlement to relief “requires more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 545

(citations omitted). Where a complaint merely alleges entitlement to relief, but does not allege

facts showing entitlement, it must be dismissed. See Fowler v. UPMC Shadyside, 578 F.3d 203,

211 (3d Cir. 2009). “[N]aked assertions devoid of further factual enhancement” are similarly

inadequate. Iqbal, 556 U.S. at 697. The assumption of truth is inapplicable to legal conclusions

couched as factual allegations or to “[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements.” Iqbal, 556 U.S. at 678 (citations omitted). Thus, this

Court is not required to “conjure up” unpleaded or unclaimed facts that “might turn a frivolous

claim . . . into a substantial one.” Twombly, 550 U.S. at 562 (citation omitted). In deciding a

motion to dismiss, a court “need not assume that a . . . plaintiff can prove facts that . . . plaintiff

has not alleged.” Klein v. Pike Cnty. Com’rs, 2011 WL 6097734, at *2 (M.D. Pa. Dec. 6, 2011).

Counts I-IV of the Amended Complaint against Defendants Penn, Dr. Gutmann, and Dr. Pritchett

fail to comply with basic pleading requirements, and instead rely upon conclusory recitations of

the legal elements of her purported claims. They should be dismissed in their entirety.




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           B. Plaintiff’s Defamation and Defamation by Implication Claims Against Penn,
              Dr. Gutmann, and Dr. Pritchett Fail as a Matter of Law.

       To state a cause of action for defamation, Plaintiff’s Amended Complaint must contain

averments of fact which, if proven, would establish: (1) the defamatory character of the

communications; (2) its publication by the defendant; (3) its application to the plaintiff; (4) the

understanding by the recipient of its defamatory meaning; (5) the understanding by the recipient

of the intention to be applied to the plaintiff; (6) special harm resulting to the plaintiff; and (7)

abuse of a conditionally privileged occasion (i.e., that the defendant published the defamatory

statement with want of reasonable care and diligence to ascertain the truth). 42 Pa. C.S. § 8343(a);

McCafferty v. Newsweek Media Grp., Ltd., 955 F.3d 352, 357 (3d Cir. 2020); Joseph v. Scranton

Times L.P., 129 A.3d 404, 424 (Pa. 2015). The complaint must allege the content of the

defamatory statements, the identity of the persons making such statements, and the identity of the

persons to whom the statements were made. See Bank v. Cmty. Coll. of Philadelphia, 2022 WL

2905243, at *3 (E.D. Pa. July 22, 2022) (citing Moses v. McWilliams, 549 A.2d 950, 960 (Pa.

Super. 1988) (“A complaint for defamation must, on its face, identify specifically what allegedly

defamatory statements were made, and to whom they were made.”); Phillips v. Selig, 2001 WL

1807951 at *6 (Pa. Com. Pl. Sept. 19, 2001) (quoting Itri v. Lewis, 422 A.2d 591, 592 (Pa. Super.

1980)); see also Bush v. Lawrence, 2019 WL 517812, at *1 (Pa. Super. Feb. 11, 2019) (dismissing

complaint where plaintiff “fail[ed] to explain precisely what statements” in the letter at issue were

defamatory).

       “Defamation by implication” is a derivative of a defamation claim, merely expanding upon

the first element in a defamation cause of action – the defamatory character of the communication.

A statement supports a claim for defamation by implication if the “natural meaning” of the

challenged language can “fairly and reasonably” be construed to imply the defamatory meaning

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alleged by a plaintiff. Am. Osteopathic Ass'n v. Am. Bd. of Internal Med., 555 F. Supp. 3d 142,

153 (E.D. Pa. 2021) (quoting Sarkees v. Warner–West Corp., 37 A.2d 544, 546 (Pa. 1944)). The

implication   or   “innuendo     must    be   warranted,    justified   and   supported   by   the

publication.” Schatzberg v. State Farm Mut. Auto. Ins. Co., 877 F. Supp. 2d 232, 242 (E.D. Pa.

2012) (quoting Livingston v. Murray, 612 A.2d 443, 449 (Pa. Super. 1992)). A statement cannot

be made libelous “by innuendo which puts an unfair and forced construction on the interpretation

of the publication.” Ciolli v. Iravani, 651 F. Supp. 2d 356, 373 (E.D. Pa. 2009) (quoting Thomas

Merton Ctr. v. Rockwell Intern. Corp., 442 A.2d 213, 217 (Pa. 1981)). In other words, innuendo

cannot be “used to introduce new matter, or to enlarge the natural meaning of the words, and

thereby give to the language a construction which it will not bear.” Sarkees, 37 A.2d at 546. “If

the words are not susceptible of the meaning ascribed to them by the plaintiff and do not sustain

the innuendo, the case should not be sent to a jury.” Id.

                            1. Any Attempt to Hold Defendants Liable for Drs. Gutmann and
                              Pritchett’s April 26, 2021 Statement Fails Because It is a Statement
                              of Opinion That is Not Capable of Defamatory Meaning

       Statements of opinion, as opposed to fact, are only capable of defamatory meaning in

narrow, unique circumstances. See Sprague v. Porter, 2014 WL 10803063, at *18 (Pa. Super. Ct.

Aug. 26, 2014) (citing Bogash v. Elkins, 176 A.2d 677 (Pa. 1962)); see generally Restatement

(Second) of Torts, § 566. Whether a statement constitutes an opinion or a statement of fact is

determined by a court in the first instance. Keating v. Bucks Cnty. Water & Sewer Auth., 2000

WL 1888770, at *12 (E.D. Pa. Dec. 29, 2000) (citing Bogash v. Elkins, 176 A.2d 677 (Pa. 1962));

Mathias v. Carpenter, 587 A.2d 1, 3 (Pa. Super. 1991). In adopting the Second Restatement's

approach to defamation, Pennsylvania distinguishes a statement of fact from a statement of opinion

by whether it can be “objectively determined.” Meyers v. Certified Guar. Co., LLC, 221 A.3d 662,

670 (Pa. Super. 2019) (citing Restatement (Second) of Torts, § 566, Comment (a)). A statement
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of fact can be verified as true or false, whereas an expression of opinion only conveys a subjective

belief of the speaker. Id.

       As clarified in Comment (b) of Section 566 of the Second Restatement, expressions of

opinion fall into two sub-categories: (1) the pure type – which “occurs when the maker of the

comment states the facts on which he bases his opinion of the plaintiff and then expresses a

comment as to the plaintiff's conduct, qualifications or character”; or (2) the mixed type – which

“while an opinion in form or context, is apparently based on facts regarding the plaintiff or his

conduct that have not been stated by the defendant or assumed to exist by the parties to the

communication.     Here the expression of opinion gives rise to the inference that there are

undisclosed facts that justify the forming of the opinion expressed by the defendant.” Mathias,

587 A.2d at 3 (quoting Restatement (Second) of Torts, § 566, Comment (a)). Thus, in determining

whether a statement is capable of defamatory meaning, a distinct standard is applied to publication

of an opinion: “[i]n order for an opinion to be deemed capable of defamatory meaning under

Pennsylvania law, it must reasonably be understood to imply the existence of undisclosed

defamatory facts justifying the opinion.” Mallory v. S & S Publishers, 260 F. Supp. 3d 453, 459

(E.D. Pa. 2017), aff'd sub nom. Mallory v. Simon & Schuster, Inc., 728 F. App'x 132 (3d Cir. 2018);

see Veno v. Meredith, 515 A.2d 571, 575 (Pa. Super. 1986), appeal denied, 616 A.2d 986 (Pa.

1992) (“A statement in the form of an opinion is actionable only if it may reasonably be understood

to imply the existence of undisclosed defamatory facts justifying the opinion. A simple expression

of opinion based on disclosed facts is not itself sufficient for an action of defamation.”).

       In McCafferty, the plaintiff claimed that a magazine article, which discussed the popularity

of children with radical political opinions and critiqued adults for using children to espouse their

controversial views, was libelous. 955 F.3d at 355-56. According to plaintiff, the article’s



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suggestion that he was “defending raw racism and sexual abuse” was a defamatory statement of

fact Id. at 355. However, that characterizations followed the article’s factual description of

interviews of the children, and the court recognized that “opinions based on disclosed facts are

‘absolutely privileged,’ no matter ‘how derogatory’ they are.” Id. at 357 (quoting Braig v. Field

Commc’ns, 456 A.2d 1366, 1373 (Pa. Super. 1983). The court affirmed dismissal, reasoning that

the statement was not capable of a defamatory meaning because “those characterizations ma[d]e

no factual claims.” Id.

        In Veno, the plaintiffs alleged that published editorials were libelous because they “attacked

their professional integrity and competence.” 515 A.2d at 575. At issue was a newspaper editorial

critiquing a prior article – for example, stating that the article was “not thoroughly researched” –

published in that same newspaper. Id. at 575-76. The court affirmed the defendants’ demurrer,

reasoning that the editorial was not capable of a defamatory meaning because it “merely stated an

opinion that the tone of the article . . . was not supported by the facts asserted in the article” and

that the article itself was a disclosed fact by virtue of its prior publication. Id.

        Similarly, in Neish v. Beaver Newspapers, Inc., the plaintiff challenged an editorial

criticizing the way the town solicitor handled his job and suggesting replacing the town solicitor.

581 A.2d 619, 622–24 (Pa. Super 1990), appeal denied, 593 A.2d 421 (Pa. 1991). The Court

dismissed the plaintiff’s defamation claim, concluding that while the statements in the editorial

“might be viewed as annoying and embarrassing, they were not tantamount to defamation” as they

were based on public events and, therefore, were an opinion not based on undisclosed defamatory

facts. Id.

        In Baker v. Lafayette College, the plaintiff (a college professor) challenged statements

made by his department chairman in a memorandum to the provost that (1) plaintiff’s having his



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wife present in classes was extraordinary, peculiar, and an academically deplorable arrangement

and (2) plaintiff was “cavalier in his dealings with students [demonstrating]… a general attitude

that the best way to build a program is by giving high grades.” 532 A.2d 399, 402-03 (Pa. 1987).

The Pennsylvania Supreme Court held that the statements were not capable of defamatory meaning

because the language was not based upon undisclosed facts, but rather specifically disclosed facts

and, therefore, was a personal opinion not susceptible to defamatory meaning. Id.

       Reading Drs. Gutmann and Pritchett’s April 26, 2021 statement as a whole, it is clear that

Drs. Gutmann and Pritchett were stating their opinion regarding the handling of human remains

that had been described in detail in multiple media reports. See Exhibit A. Their view that “this

was insensitive, unprofessional and unacceptable” was a subjective statement of their opinions,

not a statement of fact. Id. Indeed, their statement did not disclose any new facts or imply factual

information about Plaintiff’s conduct that was not already disclosed. The opinion was based on

facts that Drs. Gutmann and Pritchett disclosed in the very same statement, i.e., that “human

remains, provided to a faculty member by the medical examiner many decades ago in an effort to

identify a victim from the 1985 bombing of the MOVE house, had been kept at the Penn Museum

for much of that time.” Id. Plaintiff does not contend that the opinions were based on undisclosed

facts, new facts or factual assertions that were untrue. Further, as the Amended Complaint itself

alleges, Drs. Gutmann and Pritchett’s statement was made after a number of third-party media

outlets published articles addressing the handling of the MOVE remains, which, as both Veno and

Neish held, are disclosed facts. Compare Am. Compl. ¶ 170 & Exhibit A, with Am. Compl. ¶¶

151, 154, 160, 161(a), Exs. A-F.

       It is quite clear, therefore, that Drs. Gutmann and Pritchett’s April 26, 2021 statement was

one of opinion based on disclosed facts and, therefore, is not capable of defamatory meaning.



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Thus, any defamation claim against Penn, Dr. Gutmann, and/or Dr. Pritchett based on Drs.

Gutmann and Pritchett’s April 26, 2021 statement fails as a matter of law. See McCafferty, 955

F.3d at 355; Veno, 515 A.2d at 575-76; Neish, 581 A.2d at 622-24; Baker, 532 A.2d at 402-03.4

For these reasons, Plaintiff’s purported defamation and defamation by implication claims should

be dismissed. See, e.g., Kane v. Chester Cnty., 811 F. App'x 65, 70 (3d Cir. 2020) (affirming

dismissal where expressed opinions were based on disclosed facts and thus are not actionable

defamatory statements); Beckman v. Dunn, 419 A.2d 583, 587 (Pa. Super. 1980) (affirming grant

of judgment on the pleadings where plaintiff, former student, challenged letter from professor to

ombudsman as defamatory concerning plaintiff’s doctoral examinations and termination of her

participation in the program because the letter clearly indicated that the evaluation of plaintiff’s

academic abilities was based on her prior coursework, performance, and conflicts with the

department and, therefore, was a non-defamatory statement of opinion based on disclosed facts);

Balletta v. Spadoni, 47 A.3d 183, 196-200 (Pa. Cmwlth. Ct. 2012) (affirming rejection of

defamation claim where challenged statements in newspaper were non-actionable statements of

opinion because, when viewed in the context of the article in its entirety, it was clear that the article

fully disclosed the facts upon which the defendant based his opinions and, therefore, the statements

did not imply the existence of undisclosed facts).

                                 2. Plaintiff’s Remaining Allegations Are Vague and Conclusory, at
                                   Best,      and,   Therefore,     Insufficient to    Plead     a
                                   Defamation/Defamation by Implication Claim Against Penn




4
        Given that Drs. Gutmann and Pritchett’s statement is one of opinion that is not capable of defamatory
        meaning, Plaintiff’s purported “defamation by implication” claim, to the extent it is based on this statement,
        fails for the same reason. See Sarkees v. Warner–West Corp., 37 A.2d 544, 546 (Pa. 1944) (“If the publication
        complained of is not in fact libelous, it cannot be made so by an innuendo which puts an unfair and forced
        construction on the interpretation of the publication.”).

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       Beyond Drs. Gutmann and Pritchett’s April 26, 2021 statement, it appears that Plaintiff’s

purported defamation and defamation by implication claims against Penn are based on her vague

and conclusory allegation that Penn made unidentified “statements to its faculty and the public that

apologetically condemned the investigatory efforts of its employee even though she did nothing

wrong.” See Am. Compl. ¶ 163. Such allegations are insufficient, as Plaintiff’s Amended

Complaint does not include any factual allegations detailing the alleged defamatory statement(s)

she believes Penn made. See generally, Am. Compl. Without any such factual averments, it is

not surprising that Plaintiff also failed to provide any details regarding when and to whom the

alleged defamatory statement was made. See generally, Am. Compl. Without any factual

averments identifying an alleged statement or communication made by Penn or the identity of the

person(s) to whom the alleged statement(s) was made, Plaintiff’s purported defamation claim

(Count I) and defamation by implication claim (Count II) based on this allegation fails as a matter

of law. See, e.g., Turk v. Salisbury Behav. Health, Inc., 2010 WL 1718268, at *4 (E.D. Pa. Apr.

27, 2010) (holding plaintiff's Amended Complaint failed to state a claim for defamation because

it did not identify the substance of the alleged defamatory statements or state the circumstances

under which they were allegedly made); Lee v. Univ. of Pa., Sch. of Dental Med., 2019 WL

4060843, at *6 (E.D. Pa. Aug. 27, 2019) (granting motion to dismiss because “[t]o survive

dismissal, [a plaintiff] must allege at least some specific statements identifying the speaker, the

approximate date, the content, and the audience); Carter v. Susquehanna Reg’l Police Dep’t, 2009

WL 1183415, at *8 (E.D. Pa. Apr. 30, 2009) (dismissing plaintiff’s defamation claim against

former employer as she did not “set forth the substance of the allegedly defamatory comments”).5


5
       See also Gross v. United Engineers and Constructors, Inc., 302 A.2d 370, 372 (Pa. Super. 1973) (affirming
       grant of preliminary objections and dismissing libel and slander claims where “[t]he Complaint fails to allege
       with any particularity the content of the oral or written statements claimed to have been made, the identity of
       the person or persons making those statements, the relationship of that person or persons to the defendant

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            C. Plaintiff’s False Light Claim Against Defendants Penn, Dr. Gutmann, and Dr.
               Pritchett Fails as a Matter of Law.

        For false light claims, Pennsylvania adopts the definition set forth in the Restatement

(Second) of Torts, which provides that “one who gives publicity to a matter concerning another

that places the other before the public in a false light is subject to liability to the other for invasion

of his privacy, if (a) the false light in which the other was placed would be highly offensive to a

reasonable person, and (b) the actor had knowledge of or acted in reckless disregard as to the falsity

of the publicized matter and the false light in which the other would be placed.” Restatement

(Second) of Torts § 652E; Vogel v. W.T. Grant Co., 327 A.2d 133, 135–36 (Pa. 1974); Weinstein

v. Bullick, 827 F. Supp. 1193, 1202 (E.D. Pa. 1993) (citing Vogel for the proposition that

Pennsylvania courts have adopted the Restatement definition of false light invasion of privacy).

        To state a “false light” claim, Plaintiff must show “publicity, given to private facts about

her, which would be highly offensive to a reasonable person and which are not of legitimate

concern to the public.” Sprague v. Porter, 2014 WL 10803063, at *26 (Pa. Super. Ct. Aug. 26,

2014) (emphasis added); Strickland v. Univ. of Scranton, 700 A.2d 979, 987 (Pa. Super. 1997).6




        company and authority to act in behalf of the defendant company, the identity of the person or persons to
        whom the statements were made, and the relationship of that person or persons to the companies receiving
        the alleged communications.”); Reed v. Pray, 2018 WL 5117223 (Pa. Super. Oct. 22, 2018) (“Simply put,
        Mr. Reed's averment that Ms. Pray made statements of a defamatory nature as she was entering or exiting
        Borough Council meetings at some unidentified time over the past year is too vague to state a cause of action
        for defamation. . . . In fact, we note the complaint in the case sub judice does not include any averments as
        to the specific dates of the subject Borough Council meetings or that any citizens or residents were even
        within earshot of Ms. Pray and/or heard Ms. Pray make the statements. Accordingly, we agree with the trial
        court that Mr. Reed's defamation count fails to allege with sufficient particularity the identity of persons to
        whom the statements were made, which is an essential element of an actionable defamation claim.”); Foster
        v. UPMC South Side Hosp., 2 A.3d 655, 666 (Pa. Super. 2010) (finding complaint “fatally vague” where it
        failed to identify “who made the statements and to whom the statements were made”).
6
        Pennsylvania courts have gone back and forth over the elements of a false light claim. Compare Larsen v.
        Phila. Newspapers, 543 A.2d 1181, 1188 (Pa. Super. 1988) (disclosure of public or private facts sufficient to
        state a false light claim); Krajewski v. Gusoff, 53 A.3d 793, 806 (Pa. Super. 2012) (“false light does not
        require proof that the matter giving rise to the plaintiff's claim be restricted to one of private concern”) with
        Strickland, 700 A.2d at 987 (disclosure of private facts not of legitimate public concern required). However,
        the most recent Pennsylvania Superior Court opinion to address this issue concluded that, to state a viable

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Mere negligence is insufficient to support a claim for false light/invasion of privacy. See Rush v.

Phila. Newspapers, Inc., 732 A.2d 648, 654 (Pa. Super. 1999). Rather, Plaintiff must establish

that Penn publicized a highly offensive, false statement about private facts pertaining to Plaintiff

with knowledge or in reckless disregard of the falsity. See Santillo v. Reedel, 634 A.2d 264,

266 (Pa. Super. 1993); Sprague, 2014 WL 10803063, at *26; Strickland, 700 A.2d at 987

(emphasis added). “False light” claims require the same specificity in pleading as defamation

claims. Ersek v. Township of Springfield, Delaware Cty., 822 F. Supp. 218, 223 (E.D. Pa. 1993)

(citing Moses for specificity standard for defamation pleading). Thus, for a false-light claim to be

legally sufficient, Plaintiff must allege “the makers, the recipients and the contents of the

[challenged] statements.” Phillips, 2001 WL 1807951 at *6.

       Count III, Plaintiff’s false light claim against all Defendants, generally alleges that all of

the statements and articles referenced in the Amended Complaint were made/published without

regard to their truth or falsity and publicized information that implied falsehoods about Plaintiff

and/or included misrepresentations about her character, conduct, and activities that are not of

legitimate public concern and that place her in a false light of a kind highly offensive to a

reasonable person. See Am. Compl. ¶¶ 210-213. It appears that Plaintiff’s purported false light

claims against Penn, Dr. Gutmann, and Dr. Pritchett are based on the following allegations: (1)

Penn amplified the alleged damage done by the alleged false and defamatory media articles by

making unidentified “statements to its faculty and the public that apologetically condemned the

investigatory efforts of its employee even though she did nothing wrong” (Am. Compl. ¶ 163);




       false light claim, a plaintiff must allege that publicity was given to private facts. See Sprague, 2014 WL
       10803063, at *26.

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and (2) Drs. Gutmann and Pritchett’s April 26, 2021 statement (Am. Compl. ¶ 170). These

allegations are insufficient for several reasons.

                             1. Plaintiff’s Amended Complaint is Devoid of Factual Averments
                               Identifying a Statement Made by Penn, Dr. Gutmann, or Dr.
                               Pritchett That Creates a False Impression, As Well as the Alleged
                               Recipients of Such a Statement or That Defendants Acted with
                               Actual Malice

       Plaintiff fails to plead essential facts supporting her false light claims against Penn, Dr.

Gutmann, and Dr. Pritchett, such as facts demonstrating that they made any factual statements

about Plaintiff that can be said to create a false impression, let alone the content of the alleged

defamatory statement(s), when the alleged statement(s) was made, and to whom the alleged

statement was made. See generally Am. Compl.

       For example, Drs. Gutmann and Pritchett’s April 26, 2021 statement cannot be said to

create a false impression as the only “information” included in their statement had already been

publicized through a number of media articles and, at most, Drs. Gutmann and Pritchett offered

their opinion about those facts. See Section III.B.1, supra. This is not enough to state a false light

claim. See, e.g., Sprague, 2014 WL 10803063, at *26 (dismissing false light claim and, in doing

so, noting that challenged statements did not create false impression because defendant reported

what had already been publicized and then offered her opinion).

       Additionally, Plaintiff’s Amended Complaint does not include any factual allegations

detailing the alleged defamatory statement(s) she believes Penn made, let alone provide any details

regarding when the alleged statement(s) was made and to whom. See generally, Am. Compl. At

most, Plaintiff vaguely alleges that Penn made a statement to faculty and the public apologizing

for how the MOVE remains were handled, but fails to provide any additional information or detail.

But this does not provide nearly enough detail to meet her burden. See Section III.B.2, supra.



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        Finally, Plaintiff’s purported false light claims against Penn, Dr. Gutmann, and Dr.

Pritchett fail because her Amended Complaint does not include any factual averments

demonstrating that any statements were made about Plaintiff with knowledge that they were false

or made with reckless disregard for any alleged falsity. Rather, Plaintiff simply alleges, in a

conclusory manner, that they acted with knowledge or reckless disregard. Conclusory allegations

are not enough to properly plead a false light claim.

        Without such factual averments, Plaintiff’s purported false light claim against Penn, Dr.

Gutmann, and Dr. Pritchett (Count III) should be dismissed. See Section III.B.2, supra (citing

cases dismissing claims for failure to plead required elements).

                             2.Plaintiff’s False Light Claim Fails Because Plaintiff Cannot Show
                               Penn, Dr. Gutmann, or Dr. Pritchett Disclosed Private Facts About
                               Plaintiff and, Regardless, Any Statement Made by Penn, Dr.
                               Gutmann, or Dr. Pritchett is One of Legitimate Concern to the
                               Public

        Plaintiff’s false light claims against Penn, Dr. Gutmann, and Dr. Pritchett also fail because:

(1) Plaintiff does not allege that Penn, Dr. Gutmann, or Dr. Pritchett publicized private facts about

Plaintiff; and (2) information regarding the handling of the MOVE remains is a matter of legitimate

public interest.

        First, according to Plaintiff’s own Amended Complaint, multiple media outlets reported

on the Penn Museum’s handling of the MOVE remains, including Billy Penn, the Philadelphia

Inquirer, The Daily Mail, The Guardian, the New York Post, the New York Times, and the

Smithsonian Magazine. See Am. Compl. ¶¶ 151-161. Even a simple comparison of Drs. Gutmann

and Pritchett’s April 26, 2021 statement to the statements and/or articles published by these media

outlets, among others, shows that Drs. Gutmann and Pritchett did not publicize any private facts

about Plaintiff. Compare Exhibit A with Am. Compl., Exs. A-P. And the Amended Complaint



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lacks any other allegations showing that Penn publicized private facts about Plaintiff. Without

such factual averments, her false light claim fails as a matter of law. See, e.g., Schatzberg v. State

Farm Mut. Auto. Ins. Co., 877 F. Supp. 2d 232, 246 (E.D. Pa. 2012) (holding that plaintiff’s false

light claim failed in part because matters of the public record are not private facts); Strickland, 700

A.2d 987 (affirming dismissal where plaintiff failed to raise a genuine issue of material fact

regarding whether the defendant publicized private facts); see also Marricone v. Experian Info.

Sols., Inc., 2009 WL 3245417, at *2 (E.D. Pa. Oct. 6, 2009) (“There is no liability when the

defendant merely gives further publicity to information about the plaintiff that is already public.”)

(quoting Restatement (Second) of Torts § 652D, cmt. B); Sprague, 2014 WL 10803063, at *26

(holding that plaintiff’s false light claim failed where defendant did not disclose any private facts

that created false impression).

       Second, the information reported on by various media outlets, and briefly addressed by

Drs. Gutmann and Pritchett in their April 26, 2021 statement, concerns a matter of legitimate

concern to the public. See Am. Compl. ¶¶ 210-213. Plaintiff’s Amended Complaint demonstrates

this, as it details the media and public outrage that resulted from publication of this information.

See Am. Compl. ¶¶ 151-161. Additionally, as an anthropologist, Plaintiff should have been well

aware that the public has a legitimate concern in understanding how human remains, particularly

those believed to be from a victim of a horrific and widely reported tragedy, were handled. This

is particularly true given the important issues currently facing museums, universities, and the field

of anthropology more broadly: the dehumanization of Black people in life and the desecration of

their bodies after death and moral and human dignity implications of continuing possession and

use of human remains. Where, as here, there is no doubt that the content of any statements or

conduct attributed to Penn, Dr. Gutmann, and/or Dr. Pritchett is a legitimate matter of public



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concern, Plaintiff’s false light claim fails. See, e.g., Smith v. Borough of Dunmore, 633 F.3d 176,

178 (3d Cir. 2011) (affirming summary judgment on false light claim where information which

was made public—that fire captain had been suspended for lacking required training—concerned

a public safety matter and was, therefore, a matter of public concern); Sprague, 2014 WL

10803063, at *26 (holding that plaintiff’s false light claim failed where defendant’s statement –

commentary on corruption trial of elected official – was matter of public concern).

           D. Plaintiff’s Purported Aiding and Abetting Claims Against Penn, Dr.
              Gutmann, Dr. Pritchett Fail as a Matter of Law.

       To state a claim for civil aiding and abetting, Plaintiff must prove that Penn, Dr. Gutmann,

and Dr. Pritchett: (1) committed a tortious act in concert with another or pursuant to a common

design with him; (2) knew that another's conduct constituted a breach of duty and gave substantial

assistance or encouragement to so conduct himself; or (3) gave substantial assistance to another in

accomplishing a tortious result and his own conduct, separately considered, constitutes a breach

of duty to a third person. See Chaleplis v. Karloutsos, 2022 WL 95691, at *10 (E.D. Pa. Jan. 10,

2022) (noting that Pennsylvania Supreme Court explicitly adopted Restatement (Second) of Torts,

§ 876 for civil aiding and abetting claims, also known as concerted tortious conduct); HRANEC

Sheet Metal, Inc. v. Metalico Pittsburgh, Inc., 107 A.3d 114, 120 (Pa. Super. 2014) (same);

Restatement (Second) of Torts § 876.

       In determining whether a defendant gave substantial assistance or encouragement,

Pennsylvania Courts consider “the nature of the act encouraged, the amount of assistance given by

the defendant, his presence or absence at the time of the tort, [and] his relation to the other and his

state of mind[.]” Marion v. Bryn Mawr Tr. Co., 253 A.3d 682, 693 (Pa. Super. 2021), reargument

denied (Apr. 28, 2021), appeal pending on other grounds, 2021 WL 4540443 (Pa. Oct. 5, 2021)

(citing Restatement (Second) of Torts § 876 cmt d); see also Synthes, Inc. v. Emerge Med., Inc.,

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25 F. Supp. 3d 617, 677 (E.D. Pa. 2014) (using Restatement § 876 comment d factors to evaluate

substantial assistance). In addition to these factors, courts often consider the duration of the

assistance (Bair v. Purcell, 500 F. Supp. 2d 468, 496 (M.D. Pa. 2007)), and the foreseeability of

the harm that occurred (Fassett v. Delta Kappa Epsilon (New York), 807 F.2d 1150, 1163-64 (3d

Cir. 1986); Jefferis v. Commonwealth, 537 A.2d 355, 358 (Pa. Super. 1988)). To establish

substantial assistance, Plaintiff must plead and/or prove facts clearly demonstrating active

encouragement to commit the tortious conduct through some affirmative action taken that causes

the tortious actor to conduct himself/herself inappropriately. See Doe v. Liberatore, 478 F. Supp.

2d 742, 759 (M.D. Pa. 2007) (citing Welc v. Porter, 675 A.2d 334, 338 (Pa. Super. 1996)).

        Plaintiff’s Amended Complaint lacks any factual averments supporting her purported civil

aiding and abetting claims against Penn, Dr. Gutmann, and Dr. Pritchett. See generally, Am.

Compl. At most, Plaintiff alleges that Drs. Gutmann and Pritchett issued a statement on April 26,

2021 after widespread publicity had already ensued.        See Am. Compl. ¶ 170; Exhibit A.

Otherwise, Count IV alleges, in general terms, that the 37 Defendants encouraged, aided and

abetted the alleged tortious misconduct of each other when they published alleged defamatory

statements that they knew or should have known was providing substantial assistance and/or

encouragement to engage in tortious conduct. See Am. Compl., ¶¶ 218-219. This is woefully

insufficient to state a claim for civil aiding and abetting against Penn, Dr. Gutmann, and Dr.

Pritchett.

        As an initial matter, for the reasons provided above, Plaintiff has not even demonstrated

that Penn, Dr. Gutmann, or Dr. Pritchett engaged in any tortious conduct by defaming her or

placing her in a false light. See Sections III.B-III.C, supra. Additionally, Plaintiff’s Amended

Complaint does not contain any factual averments detailing how she believes Penn, Dr. Gutmann,



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or Dr. Pritchett acted in concert with any other Defendants, or provided “substantial assistance or

encouragement” to any other Defendants to engage in alleged tortious conduct. See generally,

Am. Compl. With respect to Drs. Gutmann and Pritchett’s April 26, 2021 statement, simply

issuing a statement that is not capable of defamatory meaning, after a number of media outlets

already reported on the subject, cannot constitute “substantial assistance or encouragement.”

Additionally, Plaintiff’s Amended Complaint lacks any factual averments demonstrating

affirmative action on the part of Drs. Gutmann and Pritchett to encourage or assist any other

Defendant in issuing defamatory statements about Plaintiff. See Am. Compl. ¶¶ 151-161; see

Pendergrass v. Pendergrass, 2019 WL 9100240, at *2 (E.D. Pa. Apr. 18, 2019) (holding that

“concerted tortious action requires the secondary actor [i.e., the party to be held liable] to have

knowledge of the primary actor's [i.e., the party committing the underlying tort] tortious actions or

the primary actor's tortious act must be foreseeable to the secondary actor”) (quoting Grimm v.

Grimm, 149 A.3d 77 (Pa. Super. 2016).7

       Accordingly, Plaintiff’s purported civil aiding and abetting claim against Penn, Dr.

Gutmann, and Dr. Pritchett should be dismissed. See, e.g., Am. Inst. for Chartered Prop. Cas.

Underwriters v. Posner, 2020 WL 12968360, at *1 (E.D. Pa. Apr. 27, 2020) (granting motion to

dismiss where plaintiff asserted in conclusory fashion that the defendant “had the intent to assist

and/or encourage” and “provided [the primary tortfeasor] with substantial assistance and

encouragement,” as the amended complaint contained no facts showing that the defendant actively

encouraged and/or assisted the alleged tortious conduct); Till v. VIP Wireless Inc., 2015 WL


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       To the extent that Plaintiff alleges that Penn, Dr. Gutmann, and/or Dr. Pritchett aided and abetted any media
       outlets who published articles prior to Drs. Gutmann and Pritchett’s April 26, 2021 statement, such a claim
       obviously fails as Defendants cannot provide substantial assistance or encouragement to an act that has
       already been completed. See Bair v. Purcell, 500 F. Supp. 2d 468, 497 (M.D. Pa. 2007) (holding that, where
       allegedly tortious conduct had not yet occurred, any prior conduct cannot serve as evidence of aiding and
       abetting the tortious conduct).

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7259918, at *5 (Pa. Super. May 14, 2015) (affirming dismissal under Rule 1028(a)(4) where

plaintiff did not allege any individual actions on the part of the individual defendants nor explain

who among the defendants aided the tortious conduct of the others, as would be necessary to

sustain a cause of action for civil aiding and abetting); Bassaro v. de Levie, 236 A.3d 1069 (Pa.

Super. 2020) (affirming dismissal where plaintiff failed to set forth facts stating a cause of action

against a third-party tortfeasor).

            E. Any Attempt to Hold Penn Liable for Alleged Conduct of Dr. Deborah Thomas
               Fails for the Same Reasons Identified by Dr. Thomas in Her Motion to Dismiss
               Plaintiff’s Amended Complaint.

         The Amended Complaint is unclear in several respects, but Penn assumes that Plaintiff is

attempting to hold Penn liable for defamation, defamation by implication, false light, and aiding

and abetting based on allegations that Dr. Deborah Thomas: (1) “released email blasts to

colleagues and others,” which more widely disseminated the Billy Penn article (Am. Compl. ¶ 9);

(2) shar[ed] unidentified media reports on the American Black Anthropologists email list serv

(Am. Compl. ¶ 164); (3) “suggested herself that [Plaintiff] improperly handled the remains and

stated that she was going to work with Mitchell to create a timeline and chain of custody narrative

regarding the remains.” (Am. Compl. ¶ 165); and (4) helped Paul Mitchell initiate false,

defamatory, and widely disseminated media reports about Plaintiff’s handling of the MOVE

remains (Am. Compl. ¶ 7). But any such attempt fails as a matter of law for the same reasons

identified in Dr. Thomas’s Motion to Dismiss, which Penn incorporates by reference. See Dkt.

No 40.




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IV.    CONCLUSION

       For the foregoing reasons, Plaintiff’s claims against Penn, Dr. Gutmann, and Dr. Pritchett

fail as a matter of law. As a result, the Court should dismiss Counts I-IV of the Amended

Complaint against Penn, Dr. Gutmann, and Dr. Pritchett in their entirety, with prejudice.

Dated: August 12, 2022                       MORGAN, LEWIS & BOCKIUS LLP

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